     Case 2:19-cv-11149-LMA-DMD Document 147 Filed 08/18/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

REC MARINE LOGISTICS, LLC        §                    C.A. NO. 2:19-cv-11149-LMA-DMD
                                 §
V.                               §
                                 §
DEQUINCY R. RICHARD              §                    SEC. “I”              MAG. (3)
                                 §
V.                               §
                                 §
REC MARINE LOGISTICS, LLC,       §
GULF OFFSHORE LOGISTICS LLC and  §
OFFSHORE TRANSPORT SERVICES, LLC §

                DEQUINCY RICHARD’S MOTION IN LIMINE TO LIMIT
                    THE TESTIMONY OF DR. BRETT E. CASEY

       NOW INTO COURT, through undersigned counsel, comes DeQuincy R. Richard

(“Richard”), made Defendant in this Declaratory Judgment action and Counter/Third-Party Plaintiff,

and respectfully files this Motion in Limine to Limit the Testimony of Dr. Brett E. Casey. For the

reasons more fully set forth in his Memorandum in Support, Richard requests that Dr. Casey’s

testimony be limited solely to his opinions regarding Richard’s right shoulder injuries.

       WHEREFORE, Richard prays the Court grant this Motion, and restrict Dr. Casey to

testimony solely related to the body part on which he performed an IME. Richard further prays for

all other just and proper relief to which he may be entitled.

                                              Signature follows–
     Case 2:19-cv-11149-LMA-DMD Document 147 Filed 08/18/20 Page 2 of 2




                                           Respectfully submitted,

                                           /s/ Eric J. Rhine
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                                           ATTORNEYS FOR RICHARD


                               CERTIFICATE OF SERVICE

       I hereby certify that service of the foregoing was automatically accomplished on all
counsel of record through CM/ECF Notice of Electronic Filing in accordance with the Federal
Rules of Civil Procedure on this 18th day of August, 2020.

                                                  /s/ Eric J. Rhine
                                                  Eric J. Rhine




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